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                           Exhibit 37
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                      Responses to Sierra Club CORA Request as of March 4, 2016
  Please provide documents in any way related to the proposed Preferred Alternative for the expansion of
  I-70 through north Denver that discuss, analyze, consider, refer to, or contain inputs to or outputs from
  models related to the following subjects:

      1) Any alternative to the proposed Preferred Alternative that would reroute I-70 onto the existing I-
         270/I-76 alignment for all traffic.
            • Document gathering is still in process and not ready as of March 4, 2016.



      2) Any alternative that would ban or limit truck traffic from any segments of the expanded I-70
         Project.
             • Document gathering is still in process and not ready as of March 4, 2016.



      3) Any investigation of the expected concentrations of PM2.5 at receptors where modeled
         concentrations of PM-10 are expected to be the highest after the Project is open for traffic.
            • An emissions inventory was completed for PM2.5; no other investigation (i.e., modeling)
                was completed. See attached emails and documents from emails related to PM2.5 based
                on concerns raised by Mr. Bob Yuhnke of Sierra Club.
            • PM2.5 is discussed in the 2008 Draft EIS (Section 5.10 and AQ Technical Report in Volume
                3), the 2014 Supplemental Draft EIS (Section 5.10 and Attachment J - AQ Technical Report
                in Volume 3), and the 2016 Final EIS (Section 5.10, Section 5.20, Attachment J – AQ
                Technical Report in Volume 2, and in the Frequently Received Comments on the
                Supplemental Draft EIS document at the beginning of Part 1 of Attachment Q in Volume
                3). All versions of the EIS are available online at: http://www.i-70east.com/reports.html.



      4) Any original scientific investigation, evaluation or assessment of the air quality or public health
         benefits that could be achieved for the residents of north Denver neighborhoods affected by
         emissions from the proposed Preferred Alternative by implementing any alternative that would
         reduce, rather than increase, traffic through these neighborhoods, and reduce public exposure to
         air pollution emitted from motor vehicles.
              • Over 90 alternatives were considered during the EIS process, including alternatives that
                  realign and reroute traffic around the neighborhoods. However, none of the alternatives
                  that removed traffic from the neighborhoods was determined to be a reasonable
                  alternative; therefore, none of those alternatives was evaluated or assessed for air quality
                  or health impacts. The alternatives evaluation process and documentation was
                  completed per 40 CFR 1502.14. The No-Action Alternative and the reasonable build
                  alternatives were fully evaluated for air quality impacts/benefits in each of the EIS
                  documents. No original evaluation was completed related to health.




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     5) Any investigation, evaluation or review of the scientific literature to assess the likely causal
        relationship between exposure by the residents of north Denver neighborhoods affected by the
        proposed Preferred Alternative to air pollution emitted from motor vehicles on I-70 and the
        observed adverse health outcomes among such residents for diseases linked to PM2.5.
            • No investigation, evaluation, or review of literature was conducted specific to north
                Denver neighborhoods, the Preferred Alternative, and health. Based on public concern,
                a new section (5.20, Human Health Conditions) was included in the Final EIS that discusses
                what the existing concerns are about health issues in the project area (based on public
                comments), and relates these concerns to the analyses of air quality, noise, and hazardous
                materials performed for the project. Additionally, it summarizes human health studies
                performed in the area in recent years by other parties that are not specifically part of this
                project.


     6) Any published research relevant to the relationship between exposure to air pollutants emitted
        from motor vehicles and adverse health effects in addition to the studies and reports identified
        in the Final EIS.
             • All research reviewed by the project that was deemed relevant to air pollutants and
                 health for this project are included in Section 5.20 of the Final EIS.




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